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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, NO. CR18- 255RSL
Plaintiff PLEA AGREEMENT
Vv.
MARC SAPATIN,
Defendant.

 

 

The United States of America, by and through Annette L. Hayes, United States
Attorney for the Western District of Washington, Andrew C. Friedman and Francis
Franze-Nakamura, Assistant United States Attorneys for said District, and Anthony
Teelucksingh, Trial Attorney with the United States Department of Justice Computer
Crime & Intellectual Property Section, and MARC SAPATIN and his attorney,
Christopher R. Black, enter into the following Agreement, pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(A):

1. Waiver of Indictment. Defendant, having been advised of the right to be
charged by Indictment, agrees to waive that right and enter a plea of guilty to the charges
brought by the United States Attorney in an Information. |

2. The Charges. Defendant, having been advised of the right to have this
matter tried before a jury, agrees to waive that right and enter pleas of guilty to the

following charges contained in the Information.
UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220

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PLEA AGREEMENT/SAPATIN [CR18-255RSL] - 1 eae 08) 553-7970
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a. Conspiracy, as charged in Count 1, in violation of Title 18, United
States Code, Section 371;

b. Conspiracy to Commit Money Laundering, as charged in Count 2, in
violation of Title 18, United States Code, Section 1956(h). |
By entering these pleas of guilty, Defendant hereby waives all objections to the form of
the charging document. Defendant further understands that, before entering his guilty
pleas, he will be placed under oath. Any statement given by Defendant under oath may
be used by the United States in a prosecution for perjury or false statement.

3. Element of the Offenses. The elements of the offenses to which
Defendant is pleading guilty are as follows:

a. The elements of Conspiracy, as charged in Count 1, in violation of
Title 18, United States Code, Section 371, are as follows: |

First, beginning in or about April 2012 and ending in our about September 2017,
there was an agreement between two or more persons to commit a crime;

Second, the Defendant became a member of the conspiracy knowing of at least
one of its objects and intending to help accomplish it; and

Third, one of the members of the conspiracy performed at least one overt act.

The conspiracy alleged is a conspiracy to commit Wire Fraud and
Computer Fraud and Abuse.
The elements of Wire Fraud are as follows:

First, the Defendant knowingly devised a scheme or plan to defraud, or to obtain
money or property by means of false or fraudulent pretenses, representations, or
promises;

Second, the statements made or facts omitted as part of the scheme were material;
that is, they had a natural tendency to influence or were capable of influencing a person
to part with money or property;

Third, the Defendant acted with intent to defraud; that is the intent to deceive or
cheat; and

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Fourth, the Defendant transmitted or caused to be transmitted a wire in interstate
or foreign commerce to carry out or attempt to carry out an essential part of the scheme.
The elements of Computer Fraud and Abuse are as follows:

First, the Defendant knowingly caused the transmission of a program, code,
command, or information to a computer without authorization;

Second, as a result of the transmission, the Defendant intentionally impaired the
integrity or availability of data, a program, a system, or information;

Third, the computer was used in or affected interstate or foreign commerce or
communication; and

Fourth, during any one-year period, the loss was at least $5,000, or 10 or more
computers were affected.

b. The elements of Conspiracy to Commit Money Laundering, as charged in
Count 2, in violation of Title 18, United States Code, Section 1956(h), are as follows:

First, beginning in or about April 2012 and ending in our about September 2017,
there was an agreement between two or more persons to commit the crime of money
laundering; and

Second, the Defendant became a member of the conspiracy knowing of its object
and intending to help accomplish it.

The elements of Money Laundering are as follows:

First, the Defendant conducted a financial transaction that involved the proceeds
of wire fraud or computer fraud and abuse;

Second, the Defendant knew that the money represented the proceeds of wire
fraud or computer fraud and abuse; and |

Third, the Defendant knew that the transaction was designed in whole or in part to —
conceal or disguise the nature or source of the proceeds of the wire fraud or computer
fraud and abuse.

4. The Penalties. Defendant understands that the statutory penalties
applicable to the offenses to which he is pleading guilty are as follows:

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a. For the offense of Conspiracy, as charged in Count 1: a maximum
term of imprisonment of up to five years, a fine of up to $250,000, a period of
supervision following release from prison of up to three years, and a mandatory special
assessment of $100. If a probationary sentence is imposed, the probation period can be
for up to five years. Defendant agrees that the special assessment shall be paid at or
before the time of sentencing.

b. For the offense of Conspiracy to Commit Money Laundering, as
charged in Count 2: a maximum term of imprisonment of up to twenty years, a fine of up
to $500,000 or twice the amount of money involved in the conspiracy, whichever is
greater, a period of supervision following release from prison of up to three years, and a
mandatory special assessment of $100. If a probationary sentence is imposed, the
probation period can be for up to five years. Defendant agrees that the special assessment
shall be paid at or before the time of sentencing.

Defendant understands that supervised release is a period of time following
imprisonment during which he will be subject to certain restrictive conditions and
requirements. Defendant further understands that, if supervised release is imposed and he
violates one or more of the conditions or requirements, Defendant could be returned to
prison for all or part of the term of supervised release that was originally imposed. This
could result in Defendant's serving a total term of imprisonment greater than the statutory
maximum stated above.

Defendant understands that, as a part of any sentence, in addition to any term of
imprisonment and/or fine that is imposed, the Court may order Defendant to pay
restitution to any victim of the offenses, as required by law. Defendant further
understands that the consequences of pleading guilty may include the forfeiture of certain
property, either as a part of the sentence imposed by the Court, or as a result of civil

judicial or administrative process.

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Defendant agrees that any monetary penalty the Court imposes, including the
special assessment, fine, costs, or restitution, is due and payable immediately and further
agrees to submit a completed Financial Statement of Debtor form as requested by the
United States Attorney’s Office.

5. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, he knowingly and voluntarily waives the following rights: |

a. The right to plead not guilty and to persist in a plea of not guilty;

b. The right to a speedy and public trial before a jury of his peers;

Cc. The right to the effective assistance of counsel at trial, including, if
Defendant could not afford an attorney, the right to have the Court
appoint one for him; .

d. The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial; |

f. The right to compel or subpoena witnesses to appear on his behalf at
trial;

g. The right to testify or to remain silent at trial, at which trial such

silence could not be used against Defendant; and
h. The right to appeal a finding of guilt or any pretrial rulings.

6. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.

7. Restitution. The parties agree that they will recommend that the Court
apportion liability for restitution owed to AT&T Mobility between Defendant and the
defendants charged in related cases. Defendant agrees to pay restitution in the
apportioned amount of $441,500 (which shall not be joint and several with any other
defendant). Said amount shall be due and payable immediately and shall be paid in

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accordance with a schedule of payments as proposed by the United States Probation
Office and ordered by the Court. .
8. Forfeiture of Assets. Defendant understands that the forfeiture of property
is part of the sentence that must be imposed in this case. Defendant agrees to forfeit to
the United States immediately all of his right, title, and interest in any and all property,
real or personal, that constitutes or is derived from proceeds traceable to the charges of
Conspiracy and/or Conspiracy to Commit Money Laundering to which Defendant is
pleading guilty. All such property is forfeitable pursuant to Title 18, United States Code,
Section 981(a)(1)(C), Title 28, United States Code, Section 2461(c), Title 18, United
States Code, Section 982(a)(2)(B), Title 18, United States Code, Section 1030(i), and
Title 18, United States Code, Section 982(a)(1), and includes, but is not limited to:
a. a sum of money in the amount of $441,500, representing a portion of
the proceeds Defendant obtained from the offenses., subyech 4 Ory AccASSary ad \ shmusts
The Defendant understands and acknowledges this forfeited sum of money is V nde
separate and distinct from the restitution that is ordered in this case. eg Ce
Defendant agrees to fully assist the United States in the forfeiture of this property Ot
and to take whatever steps are necessary to pass clear title to the United States, including
but not limited to: surrendering title and executing any documents necessary to effect
forfeiture; assisting in bringing any property located outside the United States within the
jurisdiction of the United States; and taking whatever steps are necessary to ensure that
property subject to forfeiture is not sold, disbursed, wasted, hidden, or otherwise made
unavailable for forfeiture. Defendant agrees not to file a claim to any such property in any
federal forfeiture proceeding, administrative or judicial, that may be initiated.
The United States reserves its right to proceed against any remaining property not
identified in this Plea Agreement, including any property in which Defendant has any
interest or control, if that property constitutes or is traceable to proceeds of the
Conspiracy and/or Conspiracy to Commit Money Laundering.

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9. Statement of Facts. The parties agree on the following facts. Defendant
admits he is guilty of the charged offenses: |

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From November 2010 to approximately October 2013,
Defendant, MARC SAPATIN, was an employee of AT&T.
Defendant worked as a Customer Support Specialist in
AT&T’s Customer Care call center in Bothell, Washington,
which served customers from throughout the United States.
AT&T issued Defendant credentials to log into both
Defendant’s computer workstation and a variety of
proprietary programs on that workstation. Defendant
received training from AT&T on network security. Asa
result, Defendant knew that only authorized people were
allowed to access AT&T’s internal company network.
Defendant also knew that his login credentials were for his
use only, and that AT&T would assume that only Defendant
was using his login credentials to access his workstation and
the programs on that workstation.

One of the programs on Defendant’s workstation was a
program through which Defendant could “unlock” phones for
eligible AT&T customers. Unlocking a phone allows the —
phone to be used on the cellular networks of other service
providers. Defendant’s job duties required him to be familiar
with the products and services offered by AT&T. As a result,
Defendant knew that AT&T offered to sell phones either at a
discount or under an installment plan if the customer agreed
to enter into a long-term service contract with AT&T.

As part of Defendant’s job duties at AT&T, Defendant
unlocked phones when customers met certain criteria set by
AT&T. Based on the training Defendant received at AT&T,
Defendant understood that he was not authorized to unlock
phones when those criteria had not been met. Defendant
further understood that every time he used Defendant’s
network credentials to submit an unlocking request, he was
representing to AT&T that he had reviewed the eligibility
criteria and had determined that the customer in question
satisfied that criteria. Defendant also understood that
unlocking a phone when the eligibility criteria were not

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satisfied could cause harm to AT&T by depriving it of future

payments from the customer if that customer chose to leave
AT&T’s cellular network.

In approximately June or July of 2012, Defendant was
contacted by an individual named “Frank” through Facebook.
(Defendant now understands that the man whom he knew as
“Frank” is, in fact, Muhammad Fahd.) “Frank” used a
Facebook account listed under the name “Frank Zhang.”
“Frank” told Defendant that he had spoken to Defendant
before when he had called AT&T to unlock his phone.
“Frank” told Defendant that Defendant had denied his unlock
request because he did not meet the eligibility criteria set by
AT&T. “Frank” indicated that, after the call, he had looked
Defendant’s name up on Facebook and had found
Defendant’s Facebook page.

“Frank” offered Defendant a lot of money if Defendant
would help him secretly unlock cell phones at AT&T.
“Frank” gave Defendant detailed instructions on how to
communicate with him. At the outset, “Frank” told
Defendant to set up a new email account and to buy a pre-
paid cell-phone so they could have private communications.
Defendant followed “Frank’s” instructions and set up three
email accounts, tyronejeromeskee@gmail.com,
tropoja786@gmail.com, and tropoja786@yahoo.com.
Defendant used these accounts to communicate with
“Frank’s” email accounts, which included ©
unlockoutlet@gmail.com and unlockoutlet@ymail.com. On
August 14, 2012, “Frank” used the account
unlockoutlet@gmail.com to send Defendant a picture of
himself.

By August 2012, Defendant was regularly unlocking
phones for “Frank.” “Frank” emailed Defendant lists of
international mobile equipment identity numbers (“IMEIs”)
for cellular phones for Defendant to unlock. Most or all of
“Frank’s” emails travelled from outside the United States to
the State of Washington. After “Frank” sent Defendant a list
of IMEIs to unlock, Defendant sometimes went to a computer
in AT&T’s breakroom, logged into AT&T’s unlocking

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program using his network credentials, and entered the IMEIs
from “Frank’s” list and unlocked them. Defendant then
emailed “Frank” with a report that showed which IMEIs had —
been unlocked successfully. Defendant used the computer in

. the break room to avoid attracting attention to his

workstation. Defendant understood that, when he used his
network credentials to unlock the IMEIs “Frank” sent,
Defendant was fraudulently misrepresenting to AT&T that
these IMEIs belonged to eligible customers who satisfied
AT&T unlocking criteria.

“Frank” directed Defendant to recruit other AT&T
employees to help with the unauthorized unlocks. “Frank”
told Defendant he needed additional AT&T employees to join
the scheme, because he wanted someone to be available at all
times to expand his ability to do unauthorized unlocks.
“Frank” said he would pay Defendant money for each person
Defendant recruited. Around September 2012, Defendant
successfully recruited AT&T employees K.E. and D.W. to
join the scheme

In the spring of 2013, AT&T implemented a new
unlocking system that made it more difficult to unlock IMEIs
for “Frank.” In response, “Frank” told Defendant that he had
hired a software developer to custom-design malware that
Defendant could put on AT&T’s computer system to unlock
phones automatically. At “Frank’s” request, Defendant
provided confidential information to “Frank” about AT&T’s
computer system and unlocking procedures. Among other
things, “Frank” had Defendant install malware on AT&T’s
computers that captured information about AT&T’s computer
system and about the network credentials of other AT&T
employees. “Frank,” in turn, told Defendant that he had
provided the information to his malware developer so the
developer could tailor the malware to work on AT&T’s
computers.

Defendant helped “Frank” test multiple versions of the
malware until the malware became functional in April 2013.
Once Defendant installed the malware, the malware had the
ability to use Defendant’s AT&T credentials to unlock

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phones without Defendant’s direct involvement. When
Defendant showed up to work, all Defendant had to do was
log into his workstation and activate the malware. The
malware then interacted with AT&T’s computer system and
performed the unauthorized unlocks in the background during
the day while Defendant carried out his legitimate job
responsibilities.

At the start of the scheme in 2012, “Frank” told
Defendant to set up a fake business and a bank account for
that business to receive payments from him. “Frank” told
Defendant to create a fake invoice for every deposit that was
made into the fake business’ bank account to create the
appearance that the money was payment for a genuine service
that Defendant’s company provided. “Frank” told Defendant
to issue these fake invoices to “SwiftUnlocks.”

Pursuant to “Frank’s” instructions, Defendant set up a
fake company called Sapatin Enterprises and a bank account
in the name Marc C. Sapatin dba Sapatin Enterprises for the
business. Starting in August 2012, Defendant issued fake
invoices for supposed technical services to make the
payments Defendant received from “Frank” appear to be
legitimate income. In reality, Defendant’s company never —
provided any technical services to “SwiftUnlocks” or any atc
other customer. From approximately August 2012 to October 206% t gb
September, Defendant was paid $428,500 through his fake
business as payment for his participation in the illegal
unlocking scheme.

_ In October 2013, AT&T investigators discovered the
malware and that K.E. and Defendant were conducting large
numbers of unauthorized unlocks. AT&T investigators and,
then, law enforcement officers asked to speak with
Defendant. Later, Defendant told “Frank” that law
enforcement had contacted him about what had happened at
AT&T. “Frank” told Defendant not to say anything to law
enforcement and to provide him with updates if law
enforcement contacted him again. “Frank” told Defendant
that K.E. would pay if she talked to law enforcement.

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“Frank” further told Defendant that she “[messed] with” the
wrong person.

In October 2013, Defendant left AT&T. In the fall of
2014, “Frank” contacted Defendant and requested that
Defendant again help him with his scheme to unlock phones.
Defendant subsequently provided “Frank” with a list of
people who still worked at AT&T who might be willing to
unlock phones for him.

In 2014, Defendant performed various tasks for
“Frank” to help with the unlocking scheme, including
assisting with a plan to have D.W., who still worked at
AT&T, plug devices into AT&T’s protected computer
network to give “Frank” access to the network. For example,
on November 25, 2014, “Frank” sent Defendant a router by
Federal Express from Dubai to Defendant’s residence in
Lynnwood, Washington. Defendant then gave that router to
D.W. “Frank” sent Defendant payments in return. For
example, on November 12, 2014, “Frank” wired Defendant
$1,004.10 through Western Union, and, on November 13,
2014, “Frank” wired Defendant $4,052.00 through Western
Union.

In 2015, “Frank” requested that Defendant meet him in
Dubai, and Defendant agreed. On August 10, 2015,
Defendant traveled from SeaTac, Washington, to Dubai to
meet with “Frank.” “Frank” and a person he described as his
cousin picked Defendant up at the airport. (Defendant now
understands that “Frank’s” cousin was Ghulam Jiwani.)
Defendant was able to recognize “Frank” easily because they
had communicated by video chat.

“Frank,” suspiciously, asked if Defendant had come
with anyone. In addition, during Defendant’s trip, “Frank”
kept checking Defendant’s phone to make sure Defendant had
not taken any pictures of him. “Frank” bought Defendant’s
ticket, paid for Defendant’s hotel room, and gave Defendant
$8,000 as payment for work Defendant did for him in 2013. .
Including the earlier payments he had received, Defendant
received at least $441,500 for his role in the scheme “Frank”

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and Defendant discussed a plan for continuing the unlocking
scheme. In particular, “Frank” asked Defendant to give D.W.
instructions for how to use routers and other devices on
AT&T’s network to give “Frank” continued to access to
AT&T’s system.

Defendant understands that Muhammad Fahd has been
arrested in Hong Kong and is charged with committing the
crimes described by Defendant as having been committed by
the person Defendant knew as “Frank.” Defendant has
reviewed Fahd’s booking photograph. Based upon
Defendant’s prior contacts with “Frank,” Defendant .
recognizes the person arrested in Hong Kong and depicted in
the booking photograph as being the person Defendant knows
as “Frank.”

Defendant understands that AT&T’s forensic analysis

shows that, between June 27, 2013, and August 27, 2013,
Defendant submitted 676,509 unlock requests, many of them
milliseconds apart. Defendant agrees that this is a reasonable
estimate of the number of cellular telephones that he
fraudulently unlocked during this two month window.
Defendant understands that AT&T’s forensic analysis shows
that the total number of cellular telephones fraudulently
unlocked by members of the scheme substantially exceeded

~ 1,000,000, that more than 10 AT&T computers were affected,
and that, although AT&T estimates that its losses are in the
tens of millions of dollars (but still is working to calculate its
losses), AT&T unquestionably suffered more than $5,000 in
losses.

The parties agree that the Court may consider for the purpose of sentencing
additional facts contained in the Presentence Report, subject to objections by the parties,
as well as any facts presented by either party at sentencing.

10. United States Sentencing Guidelines. Defendant understands and
acknowledges. that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing

Guidelines together with the other factors set forth in Title 18, United States Code,

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Section 3553(a), including: (1) the nature and circumstances of the offenses; (2) the
history and characteristics of the defendant; (3) the need for the sentence to reflect the
seriousness of the offenses, to promote respect for the law, and to provide just
punishment for the offenses; (4) the need for the sentence to afford adequate deterrence to
criminal conduct; (5) the need for the sentence to protect the public from further crimes
of the defendant; (6) the need to provide the defendant with educational and vocational
training, medical care, or other correctional treatment in the most effective manner;
(7) the kinds of sentences available; (8) the need to provide restitution to victims; and
(9) the need to avoid unwarranted sentence disparity among defendants involved in
similar conduct who have similar records. Accordingly, Defendant understands and
acknowledges that:

a. The Court will determine applicable Defendant’s Sentencing
Guidelines range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in
18 U.S.C. 3553(a), the Court may impose any sentence authorized by law, up to the
maximum term authorized by law; |

Cc, The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. Defendant may not withdraw his guilty pleas solely because of the
sentence imposed by the Court.

11. Acceptance of Responsibility. At sentencing, if the district court
concludes Defendant qualifies for a downward adjustment acceptance for acceptance of
responsibility pursuant to USSG § 3E1.1(a) and Defendant’s offense level is 16 or |
greater, the United States will make the motion necessary to permit the district court to
decrease the total offense level by three (3) levels pursuant to USSG §§ 3E1.1(a) and (b),
because Defendant has assisted the United States by timely notifying the United States of

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his intention to plead guilty, thereby permitting the United States to avoid preparing for
trial and permitting the Court to allocate its resources efficiently.

12. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
prosecute Defendant for any additional offenses known to it as of the time of this
Agreement that are based upon evidence in its possession at this time, and that arise out
of the conduct giving rise to this investigation. In this regard, Defendant recognizes the
United States has agreed not to prosecute all of the criminal charges the evidence
establishes were committed by Defendant solely because of the promises made by
Defendant in this Agreement. Defendant agrees, however, that for purposes of preparing
the Presentence Report, the United States Attorney’s Office will provide the United |
States Probation Office with evidence of all conduct committed by Defendant.

Defendant agrees that any charges to be dismissed before or at the time of
sentencing, and any other potential charges that were discussed but were not filed, were
substantially justified in light of the evidence available to the United States, were not
vexatious, frivolous or taken in bad faith, and do not provide Defendant with a basis for
any future claims under the “Hyde Amendment,” Pub. L. No. 105-119 (1997).

13. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that, if
Defendant breaches this Plea Agreement, the United States may withdraw from this Plea
Agreement and Defendant may be prosecuted for all offenses for which the United States
has evidence. Defendant agrees not to oppose any steps taken by the United States to
nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
Agreement. Defendant also agrees that if Defendant is in breach of this Plea Agreement,
Defendant has waived any objection to the re-institution of any charges in the Indictment
that were previously dismissed or any additional charges that had not been prosecuted.

Defendant further understands that if, after the date of this Plea Agreement,
Defendant should engage in illegal conduct, or conduct that violates any conditions of
release or the conditions of his confinement, (examples of which include, but are not

UNITED STATES ATTORNEY
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PLEA AGREEMENT/SAPATIN [CR18-255RSL] - 14 a OO 6) 553-7970

 
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limited to, obstruction of justice, failure to appear for a court proceeding, criminal
conduct while pending sentencing, and false statements to law enforcement agents, the
Pretrial Services Officer, Probation Officer, or Court), the United States is free under this
Plea Agreement to file additional charges against Defendant or to seek a sentence that
takes such conduct into consideration by requesting the Court to apply additional
adjustments or enhancements in its Sentencing Guidelines calculations in order to
increase the applicable advisory Guidelines range, and/or by seeking an upward departure
or variance from the calculated advisory Guidelines range. Under these circumstances,
the United States is free to seek such adjustments, enhancements, departures, and/or
variances even if otherwise precluded by the terms of the plea agreement.

14. Waiver of Appellate Rights and Rights to Collateral Attacks.
Defendant acknowledges that by entering the guilty pleas required by this Plea
Agreement, Defendant waives all rights to appeal from his conviction and any pretrial
rulings of the court. Defendant further agrees that, provided the court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the court at
the time of sentencing, Defendant waives to the full extent of the law:

a. Any right conferred by Title 18, United States Code, Section 3742,
to challenge, on direct appeal, the sentence imposed by the court, including any fine,
restitution order, probation or supervised release conditions, or forfeiture order (if
applicable); and

b. Any right to bring a collateral attack against the conviction and
sentence, including any restitution order imposed, except as it may relate to the
effectiveness of legal representation; and

This waiver does not preclude Defendant from bringing an appropriate motion
pursuant to 28 U.S.C. § 2241, to address the conditions of his confinement or the
decisions of the Bureau of Prisons regarding the execution of his sentence.

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If Defendant breaches this Plea Agreement at any time by appealing or collaterally
attacking (except as to effectiveness of legal representation) the conviction or sentence in
any way, the United States may prosecute Defendant for any counts, including those with
mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
Agreement. |

15.  Voluntariness of Plea. Defendant agrees that he has entered into this Plea
Agreement freely and voluntarily and that no threats or promises, other than the promises
contained in this Plea Agreement, were made to induce Defendant to enter his pleas of
guilty.

16. Statute of Limitations. In the event this Agreement is not accepted by the
Court for any reason, or Defendant has breached any of the terms of this Plea Agreement,
the statute of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to: (1) thirty (30) days following the date of non-acceptance of the Plea
Agreement by the Court; or (2) thirty (30) days following the date on which a breach of
the Plea Agreement by Defendant is discovered by the United States Attorney’s Office.

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PLEA AGREEMENT/SAPATIN [CR18-255RSL] - 16 oOo 6) 553-7970
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17. Completeness of Agreement. The United States and Defendant agree that,
except as to certain matters set forth during the plea colloquy in open Court, these terms
constitute the entire Plea Agreement between the parties. This Plea Agreement binds
only the United States Attorney’s Office for the Western District of Washington. It does

not bind any other United States Attorney’s Office or any other office or agency of the
United States, or any state or local prosecutor.
DATED: this 5 day of October, 2018.

NC

MARC SAPATIN
Defendant

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CHRISTOPHER R. BLACK
Attorney for Defendant

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ANDREW C. FRIEDMAN
Assistant United States Attorney

OC —
FRANCIS FRANZE-NAKAMURA
Assistant United States Attorney

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ANTHONY TEELUCKSINGH
Trial Attorney .

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